Case 2:05-cr-20078-.]PI\/| Document 60 Filed 06/24/05 Page 1 of 4 Page|D 71

IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE §§ ja ?l
wEsTERN DIVISION “ -*

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. Z_Q_£- ZQQ7(S’M1

/"
§ [-e»i l c\ \{Ov'é/S
\J»OY\ (ca_”®vw\sq

M 3141-§

(60-Day Continuance)

 

 

 

VVu`/VVVVVVV`_J\_/VVV\,/~._/W

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, August 261 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in
open court at report date this 24ch day of June, 2005.

document entered on the docket sh t

Th‘. ag(b) FRCrP on

wah F\ule 55 addict

 

 

Case 2:05-cr-20078-.]PI\/| Document 60 Filed 06/24/05 Page 2 of 4 Page|D 72

SO ORDERED this 24th day of June, 2005.

seen <:QQ..

ON PHIPPS MCCALLA
` UN TED S'I`ATES DISTRICT JUDGE

 

//: r
//~Ho/`Zt/ d-(;

Assistant United§£ha§§§`§ttorney

"’4“’ >7
f

 

 

 

 

 

iv j
C unsel for efendant(s) é/#:;’)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:05-CR-20078 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

ENNESSEE

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/1emphis7 TN 38103

Larry E. oCopeland

OZMENT COPELAND & HAYS
138 N. Third St.

2nd Floor

1\/1mephis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Case 2:05-cr-20078-.]P|\/| Document 60 Filed 06/24/05 Page 4 of 4 Page|D 74

Javier 1\/1. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

